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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------X
                                         :
CAPLOC, LLC,                                                     __ Civ. ____ (____)
                                         :
                       Plaintiff,
                                         :
       -against-
                                         :
RON McCORD, CBB, INC., CITIZENS STATE
BANK, SPIRITBANK, AMERICAN SOUTHWEST     :
MORTGAGE CORP. f/k/a AMERICAN CAPITAL
MORTGAGE COMPANY, INC., AMERICAN         :
SOUTHWEST MORTGAGE FUNDING CORP.,
and FIRST MORTGAGE COMPANY, LLC,         :

                     Defendants.         :
-----------------------------------------X

                                       COMPLAINT

       Plaintiff, CAPLOC, LLC (“CapLOC”) for its Complaint against Defendants, RON

MCCORD (“McCord”), CBB, INC. (“CBB”), CITIZENS STATE BANK (“Citizens”),

SPIRITBANK (“Spirit”), AMERICAN SOUTHWEST MORTGAGE CORP. f/k/a AMERICAN

CAPITAL MORTGAGE COMPANY, INC. (“ASMC”), AMERICAN SOUTHWEST

MORTGAGE FUNDING CORP. (“ASMFC”), and FIRST MORTGAGE COMPANY, LLC

(“FMC”), states as follows:

                                        SUMMARY

       CapLOC formed in early 2017 to provide warehouse lending to mortgage lenders that

might become available for acquisition. FMC and McCord represented that FMC would be

willing to sell its mortgage lending business, but that it needed cash quickly from a new

warehouse lender if it was going to survive as a going concern. At the time, CapLOC had the

funding capacity, but lacked the infrastructure necessary to perform all of the analytical and

custodial functions of a warehouse lender. Defendants assured CapLOC that they possessed the

expertise required to fulfill those functions and promised to perform those functions for
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CapLOC’s benefit while CapLOC built its operations. McCord and FMC emphasized that time

was of the essence and unless CapLOC began funding loans quickly, FMC risked going under.

         In reliance on Defendants’ representations, CapLOC entered into a series of transactions

dated March 30, 2017, where it agreed to provide a line of credit to fund new loans originated by

FMC. Each of the Defendants played a substantial role in inducing CapLOC to provide funding,

and each Defendant participated in and benefited from the remarkably fraudulent conduct that

ensued. Once CapLOC’s agreement to fund loans was secured, Defendants almost immediately

began wrongfully taking CapLOC’s funds, ultimately paying themselves approximately $34

million of CapLOC’s money by selling to CapLOC (1) loans that breached the parties’

agreements without disclosing the ineligible nature of those loans, and (2) “double-note” loans

that had been previously paid off or sold to other investors, and are thus worthless. Upon

discovering Defendants’ fraud, CapLOC demanded repurchase of the ineligible loans.

Defendants rebuffed CapLOC’s demand. CapLOC brings this suit to recover the losses it

suffered as a result of Defendants’ brazen fraud and for all other damages and relief allowed by

law.

                                            PARTIES

         1.     CapLOC is a North Carolina limited liability company with its principal place of

business in North Carolina.

         2.     Ron McCord is an individual residing in Oklahoma, and may be served at 6701 N.

Broadway, Ste. 400, Oklahoma City, Oklahoma 73116.

         3.     CBB is an Oklahoma corporation and may be served through its registered agent,

Gary L. Giessmann, 4101 Perimeter Center Dr., Ste. 200, Oklahoma City, Oklahoma 73112.

         4.     Citizens is an Oklahoma banking corporation and may be served through an

officer, director, manager, or controlling person at 402 W. Broadway St., Okemah, Oklahoma

74859.


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         5.    Spirit is an Oklahoma banking corporation and may be served through an officer,

director, manager, or controlling person at 4815 S. Harvard, Ste. 100, Tulsa, Oklahoma 74135.

         6.    ASMC is an Oklahoma corporation and may be served through its registered

agent, Gary L. Giessmann, located at 4101 Perimeter Center Dr., Ste. 200, Oklahoma City,

Oklahoma 73112.

         7.    ASMFC is an Oklahoma corporation and may be served through its registered

agent, Richard Carrington, located at 5900 Mosteller Dr., Ste. 200, Oklahoma City, Oklahoma

73112.

         8.    FMC is an Oklahoma limited liability company and may be served through its

registered agent, Ron McCord, located at 6701 N. Broadway, Ste. 400, Oklahoma City,

Oklahoma 73116.

                                  JURISDICTION & VENUE

         9.    Subject matter jurisdiction is founded on diversity of citizenship under 28 U.S.C.

§ 1332. The parties are completely diverse. CapLOC is a citizen of North Carolina because all of

its members are citizens of North Carolina. Defendant McCord is a citizen of Oklahoma because

he resides and is domiciled in Oklahoma. Defendants CBB, ASMC, and ASMFC are citizens of

Oklahoma because each is incorporated in Oklahoma and has its principal place of business in

Oklahoma. Defendant FMC is a citizen of Oklahoma because all of its members are citizens of

Oklahoma. Defendant Spirit is a citizen of Oklahoma because it is chartered in Oklahoma and its

main office is in Oklahoma. Defendant Citizens is a citizen of Oklahoma because it is chartered

in Oklahoma and its main office is in Oklahoma. The amount in controversy exceeds the

minimal jurisdictional requirements of this Court because CapLOC seeks money damages,

equitable relief, and legal fees in excess of $75,000.00, exclusive of costs.

         10.   The Court has personal jurisdiction over Defendants because Defendants FMC

and McCord contractually waived any right to contest this Court’s jurisdiction, and because,


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upon information and belief, Defendants have sufficient minimum contacts with this district, and

exercising jurisdiction would not offend traditional notions of fair play and substantial justice.

       11.     Venue is proper in this district under 28 U.S.C. § 1391 because CapLOC, FMC,

and McCord agreed to venue in this Court and the other Defendants conspired with McCord and

FMC in the wrongful conduct alleged herein.

                                  FACTUAL BACKGROUND

A.     The Defendants’ Relationships

       12.     McCord is the CEO and owner of FMC, a mortgage lending company.

       13.     ASMC is a wholly-owned subsidiary of Spirit, and provided funding for loans

originated by FMC.

       14.     ASMFC is a wholly-owned subsidiary of Citizens, and along with ASMC,

provided funding for loans originated by FMC.

       15.     CBB is, upon information and belief, associated with ASMC and ASMFC under a

management agreement, whereby CBB acts and acted as the manager and custodian agent under

the warehouse lending agreements between ASMC, ASMFC, and FMC.

B.     ASMC and ASMFC’s Warehouse Lending to FMC

       16.     On or about August 3, 2000, ASMC and FMC entered into a Residential

Mortgage Loan and Purchase Agreement (“ASMC Loan Agreement”).

       17.     Under the ASMC Loan Agreement, ASMC operated as a warehouse lender to

fund residential home loans originated by FMC.

       18.     The ASMC Loan Agreement gave FMC a $200 million loan commitment to fund

mortgage loans.

       19.     On or about September 5, 2013, ASMFC and FMC entered into a Residential

Mortgage Loan Origination and Purchase Agreement (“ASMFC Loan Agreement”).




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        20.     Under the ASMFC Loan Agreement, ASMFC operated as a second warehouse

lender along with ASMC to fund residential home loans originated by FMC.

        21.     The ASMFC Loan Agreement gave FMC a $140 million loan commitment to

fund mortgage loans.

        22.     Loans funded under the ASMC and ASMFC Loan Agreements were owned by

ASMC or ASMFC until they were marketed and sold to an investor.

        23.     Advances to FMC under the ASMC and ASMFC Loan Agreements bore interest

which FMC was required to pay back along with the principal.

        24.     CBB acted as the manager and custodian agent for ASMC and ASMFC under the

ASMC and ASMFC Loan Agreements, was responsible for keeping, maintaining, and delivering

loan documents, and received a fee for every loan funded by ASMC or ASMFC.

C.      FMC’s Liquidity Problem

        25.     Between 2015 and 2016, FMC experienced a loss in profitability that reduced its

liquidity.

        26.     By January 2017, FMC’s liquidity was insufficient to handle haircuts, operations,

buybacks, and other unforeseen events. FMC was over-leveraged and its capital base could not

support additional business initiatives or production increases.

        27.     Upon information and belief, FMC began using funds from its Fannie Mae

custodial accounts to cover operational expenses.

        28.     FMC’s liquidity problem meant it could not timely meet its payment obligations

to ASMC and ASMFC under the terms of the ASMC and ASMFC Loan Agreements,

respectively.

        29.     At the end of 2015, FMC owed more than $275 million total to ASMC and

ASMFC.




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       30.     McCord admitted that FMC needed to expand its warehouse relationships and

replace either ASMC or ASMFC because Spirit and Citizens had reached their maximum

capacity to lend FMC money for new loans.

       31.     Without funding from the warehouse lenders for new loans, CBB could not

collect its fee for each new loan.

       32.     Thus, FMC’s financial troubles gave all Defendants an incentive to find a new

source of funding for FMC-originated loans.

D.     McCord Induces CapLOC to Provide Funding for New FMC Loans

       33.     Towards the end of 2016, CapLOC’s affiliate contacted McCord about potentially

acquiring FMC.

       34.     McCord demonstrated an interest in selling FMC and/or its assets and allowed

CapLOC’s affiliate to conduct limited due diligence.

       35.     McCord represented, however, that FMC might not survive as a going concern

unless it quickly obtained a new warehouse lender to fund loans.

       36.     McCord requested an agreement to provide warehouse lending while the parties

negotiated an acquisition of FMC.

       37.     CapLOC was formed on March 14, 2017. At the time, CapLOC possessed the

funding capabilities, but lacked the infrastructure and operations to perform the functions of a

warehouse lender.

       38.     CapLOC communicated to McCord its lack of readiness to become FMC’s

warehouse lender.

       39.     McCord insisted on securing CapLOC’s immediate agreement and promised that

he, FMC, and the other Defendants would handle all warehouse lending functions on CapLOC’s

behalf while CapLOC built its operations




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         40.   McCord emphasized that he and FMC were unable to wait for CapLOC to build

its operations and that funding was required immediately for FMC to survive as a going concern.

         41.   McCord touted his and the other Defendants’ expertise in the mortgage-lending

industry and cited their history of working together in the industry in an effort to acquire

CapLOC’s early agreement to provide funding.

         42.   McCord promised that he, FMC, and the other Defendants would work together

as they had for years, except for CapLOC’s benefit, if CapLOC agreed to provide funding.

         43.   Based on McCord’s representations, CapLOC agreed to extend a line of credit to

fund new FMC loans, not old FMC loans and certainly not fraudulent notes.

         44.   To facilitate the arrangement, the parties entered into a series of agreements.

         (i)   The CapLOC MRA

         45.   On or about March 30, 2017, CapLOC, as Buyer, entered into a Master

Repurchase Agreement (“CapLOC MRA”) with FMC, as Seller.

         46.   The CapLOC MRA, like the ASMC and ASMFC Loan Agreements before it,

established the terms by which CapLOC would provide lending to FMC for newly originated

loans.

         47.   As of the date of the CapLOC MRA, ASMC and ASMFC ceased funding FMC-

originated loans.

         48.   Nonetheless, ASMC and ASMFC agreed to maintain in the ordinary course of

business the FMC-originated loans they each purchased which had yet to be sold to investors.

         49.   The CapLOC MRA affords CBB its same position, identifying it as the custodian

for loans funded under the terms of the agreement.

         50.   FMC represented and warranted that each mortgage loan to be funded by

CapLOC under the CapLOC MRA was an “Eligible Mortgage Loan.” CapLOC MRA, § 11(g)(i).

To qualify as an Eligible Mortgage Loan under the CapLOC MRA, the payments on the loan


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must be current and the loan must not be in foreclosure, among other requirements. Id. at § 2.

FMC agreed to notify CapLOC if any loans became ineligible, and agreed to repurchase those

loans. Id. at §§ 12(c)(ii)(F) & 13(n).

       (ii)    The McCord Guaranty

       51.     Contemporaneously with the CapLOC MRA, McCord executed a Guaranty,

whereby he unconditionally, irrevocably, and personally guaranteed payment and performance of

all FMC’s obligations to CapLOC under the CapLOC MRA and otherwise.

       (iii)   The Service Agreement

       52.     Contemporaneously with the CapLOC MRA and McCord Guaranty, CapLOC,

CBB, and FMC entered into a Service Agreement.

       53.     Through the Service Agreement, CapLOC engaged CBB to act as CapLOC’s

agent and custodian to service the FMC-originated loans purchased under the CapLOC MRA,

just as CBB had done under the ASMC and ASMFC Loan Agreements.

       54.     The terms of the Service Agreement and CapLOC MRA required CBB to send a

daily list of loans to CapLOC for which funding was requested. FMC and CBB acknowledged in

the Service Agreement that CapLOC may in its sole and absolute discretion fund loans

originated by FMC “after the date of [the Service Agreement.]” Service Agreement, § 2. FMC

and CBB expressly agreed that the loans presented to CapLOC for funding under the CapLOC

MRA would not include loans that ASMC or ASMFC had committed to purchase or loans that

were currently funded by ASMC or ASMFC. Id. FMC and CBB also acknowledged that the

CapLOC MRA would govern funding for new FMC loans. Id. at Recitals.

       55.     ASMC and ASMFC are named beneficiaries of the Service Agreement. See id.,

Recitals & § 1. Specifically, the CapLOC MRA and Service Agreement relieved ASMC and

ASMFC of its funding requirements for new FMC-originated loans. Id. at § 1.




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E.     Defendants Cause CapLOC              to   Purchase    Approximately      $34   million   of
       Unauthorized Loans

       56.     Less than thirty (30) days after securing CapLOC’s agreement to provide funding

under the terms of the CapLOC MRA and Service Agreement, and without CapLOC’s

authorization, CBB requested funding for loans that were not eligible under the CapLOC MRA

and Servicing Agreement.

       57.     Specifically, CBB, without CapLOC’s knowledge or authorization requested

funding for (1) loans that FMC originated before the date of the CapLOC MRA, (2) loans that

were delinquent in payments or otherwise in default, and (3) loans that ASMC or ASMFC had

bought or committed to purchase (collectively, “Unauthorized Loans”).

       58.     None of the Defendants disclosed the ineligible status of the Unauthorized Loans.

In fact, Defendants intentionally concealed the nature of the Unauthorized Loans as evidenced by

CBB’s funding requests which provided no information that would have allowed CapLOC to

uncover the ineligible status of the Unauthorized Loans.

       59.     For instance, CBB’s funding requests did not identify the loan origination date,

the payment status of the loans, or that the loans were owned or funded by its associated entities,

ASMC and ASMFC.

       60.     CapLOC trusted Defendants to perform all warehouse lending functions as

promised, and not to present loans for funding that were expressly excluded by the CapLOC

MRA and Service Agreement.

       61.     CapLOC relied on CBB’s funding requests and authorized wire transfers in the

total approximate amount of $34 million to Spirit and Citizens.

       62.     Defendants benefitted handsomely from CapLOC’s purchase of the Unauthorized

Loans. Specifically, some or all of the Unauthorized Loans were owned or funding-committed

by ASMC or ASMFC. Thus, CBB caused a portion of the $34 million dollars to go directly to its

associated entities, ASMC and ASMFC, and their parents, Spirit and Citizens. The removal of

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those loans from ASMC and ASMFC’s portfolios relieved payment obligations FMC owed to

ASMC and ASMFC under the ASCM and ASMFC Loan Agreements. Likewise, CBB earned its

fee under the ASMC and ASMFC Loan Agreements for each Unauthorized Loan that CapLOC

purchased. All Defendants realized substantial gains at CapLOC’s expense, while CapLOC was

unknowingly taking on funding for the Unauthorized Loans that would result in significant

losses.

F.        Defendants Sell CapLOC Approximately $17 Million of “Double-Note” Loans

          63.   Upon learning of the purchase of the Unauthorized Loans, CapLOC demanded

Defendants repurchase the Unauthorized Loans as required by the CapLOC MRA. Defendants

refused, and to this date, continue to refuse to honor their repurchase obligations.

          64.   Nonetheless, to secure its collateral, CapLOC began obtaining possession of the

Unauthorized Loans and commissioned an audit.

          65.   That audit is ongoing, but has uncovered to date that CapLOC, per CBB’s funding

requests, paid at least $17 million for loans that had already been paid off or that had already

been sold or pledged to investors.

          66.   In other words, approximately half of the Unauthorized Loans were not only

ineligible under the terms of the CapLOC MRA and Service Agreement, but were altogether

fraudulent.

          67.   Some of the loans had been paid off years before they were sold to CapLOC in

April and May 2017.

          68.   Upon information and belief, all of these fraudulent loans were originated by

FMC.

          69.   Upon information and belief, some or all of these fraudulent loans were owned by

ASMC, ASMFC, Spirit, and/or Citizens prior to being sold to CapLOC.

          70.   On or about June 6, 2017, CapLOC ceased all funding for FMC loans.


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                                    CLAIMS FOR RELIEF

                                FIRST CLAIM FOR RELIEF
                           (Breach of CapLOC MRA against FMC)

       71.     CapLOC incorporates all preceding paragraphs for all purposes.

       72.     The CapLOC MRA is an enforceable agreement between CapLOC and FMC.

       73.     FMC’s above-described conduct breached the CapLOC MRA. Specifically, and

without limitation, FMC knowingly and intentionally caused CapLOC to purchase ineligible

loans; FMC failed to notify CapLOC of the defective purchased loans; FMC refused to

repurchase the Unauthorized Loans; and by causing the purchase of the Unauthorized Loans,

FMC breached its warranty that purchased loans were current and performing.

       74.     CapLOC fully performed under the CapLOC MRA.

       75.     As a direct result of FMC’s breach, CapLOC suffered actual and consequential

damages, including the loss of the funds used to purchase the Unauthorized Loans, and the lost

opportunities from freezing funding of eligible loans that CapLOC should have acquired under

the parties’ agreements. CapLOC is further entitled to recover its attorney’s fees and costs under

the CapLOC MRA.

                             SECOND CLAIM FOR RELIEF
                       (Breach of McCord Guaranty against McCord)

       76.     CapLOC incorporates all preceding paragraphs for all purposes.

       77.     The McCord Guaranty is an enforceable agreement between CapLOC and

McCord.

       78.     Pursuant to the McCord Guaranty, McCord is personally liable for FMC’s breach

of the CapLOC MRA. FMC’s above-described conduct breached the CapLOC MRA.

Specifically, and without limitation, FMC knowingly and intentionally caused CapLOC to

purchase ineligible loans; FMC failed to notify CapLOC of the defective purchased loans; FMC




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refused to repurchase the Unauthorized Loans; and by causing purchase of the Unauthorized

Loans, FMC breached its warranty that purchased loans were current and performing.

       79.     As a direct result of FMC’s breach of the CapLOC MRA and McCord’s

corresponding breach of the McCord Guaranty, CapLOC suffered actual and consequential

damages, including the funds used to purchase the Unauthorized Loans and double-note loans,

and the lost opportunities from freezing funding of eligible loans that CapLOC should have

acquired under the parties’ agreements, all of which McCord is personally liable under the

McCord Guaranty. CapLOC is further entitled to recover its attorney’s fees and costs under the

McCord Guaranty.

                              THIRD CLAIM FOR RELIEF
                 (Breach of the Service Agreement against CBB and FMC)

       80.     CapLOC incorporates all preceding paragraphs for all purposes.

       81.     The Service Agreement is a binding agreement between CapLOC and CBB and

FMC.

       82.     Defendants’ above-described conduct constitutes breach of the Service

Agreement. Specifically, and without limitation, Defendants breached the Service Agreement by

presenting the Unauthorized Loans to CapLOC for purchase and by failing to disclose and

intentionally concealing the ineligible nature of the Unauthorized Loans.

       83.     CapLOC fully performed under the Service Agreement.

       84.     As a direct result of Defendants’ breach, CapLOC suffered actual and

consequential damages, including loss of the funds used to purchase the Unauthorized Loans,

and the lost opportunities from freezing funding of eligible loans that CapLOC should have

acquired under the parties’ agreements.




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                               FOURTH CLAIM FOR RELIEF
                           (Fraud against McCord, FMC, and CBB)

       85.     CapLOC incorporates all preceding paragraphs for all purposes.

       86.     McCord, FMC, and CBB made false representations or omissions of material fact

to CapLOC.

       87.     Specifically, and without limitation, CBB, at McCord and FMC’s direction,

submitted funding requests to CapLOC for approximately $17 million worth of loans that had

been sold to investors or paid off, without disclosing any of these facts.

       88.     By submitting those funding requests, Defendants falsely represented that the

loans had not been previously sold or paid off.

       89.     Defendants knew their representations were false when made as some of the loans

had been paid off years before being sold to CapLOC.

       90.     Defendants made these false representations intending CapLOC to rely on them.

       91.     CapLOC justifiably relied upon Defendants’ representations, not knowing they

were false. Defendants had promised to act for CapLOC’s benefit and had agreed in the CapLOC

MRA and Service Agreement to request funding only for new and current loans.

       92.     As a direct result of Defendants’ fraud, CapLOC suffered actual and

consequential damages, including the loss of funds used to purchase these worthless

Unauthorized Loans and the lost opportunities from freezing funding of eligible loans that

CapLOC should have acquired under the parties’ agreements. CapLOC is further entitled to

punitive damages because of Defendants’ fraud.

                               FIFTH CLAIM FOR RELIEF
                 (Breach of Fiduciary Duty against McCord, FMC and CBB)

       93.     CapLOC incorporates all preceding paragraphs for all purposes.

       94.     CapLOC shared a fiduciary and confidential relationship with McCord, FMC, and

CBB. CapLOC reposed its trust and confidence in Defendants to perform warehouse lending


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functions on CapLOC’s behalf while CapLOC built its operations. To facilitate that arrangement,

CapLOC entered into the CapLOC MRA and Service Agreement, wherein CBB agreed to act

CapLOC’s custodian and Defendants agreed to request funding only for newly-originated loans.

       95.     Defendants breached their fiduciary obligations to CapLOC by using their

positions to benefit themselves (and in CBB’s case, its associated entities) at CapLOC’s expense.

Specifically, and without limitation, Defendants caused CapLOC to purchase the Unauthorized

Loans without disclosing their ineligible status.

       96.     Defendants benefitted handsomely from CapLOC’s purchase of the Unauthorized

Loans. Specifically, some or all of the Unauthorized Loans were owned or funding-committed

by ASMC or ASMFC. Thus, CBB caused a portion of the $34 million dollars to go directly to its

associated entities, ASMC and ASMFC, and their parents, Spirit and Citizens. The removal of

those loans from ASMC and ASMFC’s portfolios relieved payment obligations FMC owed to

ASMC and ASMFC under the ASCM and ASMFC Loan Agreements. Likewise, CBB earned its

fee under the ASMC and ASMFC Loan Agreements for each Unauthorized Loan that CapLOC

purchased.

       97.     As a direct result of Defendants’ breach of their fiduciary obligations, CapLOC

suffered actual and consequential damages, including the funds used to purchase the

Unauthorized Loans and the lost opportunities from freezing funding of eligible loans that

CapLOC should have acquired under the parties’ agreements. CapLOC is further entitled to

punitive damages for Defendants’ breach.

                            SIXTH CLAIM FOR RELIEF
       (Breach of Implied Warranties against ASMC, ASMFC, Spirit, and Citizens)

       98.     CapLOC incorporates all preceding paragraphs for all purposes.

       99.     Some or all of the Unauthorized Loans purchased by CapLOC were sold by

ASMC, ASMFC, Spirit, and Citizens.

       100.    Defendants warranted to CapLOC that they possessed good title to the

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Unauthorized Loans and that the Unauthorized Loans were free from any security interest or

other lien or encumbrance. Defendants knew that the CapLOC funding arrangement only

allowed for the funding of new loans. When these loans were transferred all Defendants had

knowledge of what was occurring – CapLOC was taking on old loans without knowing this was

the case. Any Defendant could have at any moment stopped the process and warned that old

loans were shifting to CapLOC, yet all remained silent.

       101.    Defendants breached their warranty with respect to the approximately $17 million

of Unauthorized Loans that had been previously sold to investors or paid off.

       102.    As a direct result of Defendants’ breach, CapLOC suffered actual and

consequential damages, including the loss of funds used to purchase the Unauthorized Loans that

had been sold or paid off.

                            SEVENTH CLAIM FOR RELIEF
                (Fraudulent Concealment against McCord, FMC, and CBB)

       103.    CapLOC incorporates all preceding paragraphs for all purposes.

       104.    McCord, FMC, and CBB each omitted material facts to CapLOC.

       105.    Specifically, and without limitation, Defendants failed to disclose the funding

requests given to CapLOC included requests to fund the Unauthorized Loans.

       106.    Defendants had a duty to disclose the ineligible status of the Unauthorized Loans

as the CapLOC MRA and Service Agreement allowed Defendants to submit funding requests

exclusively for newly-originated loans.

       107.    Defendants concealed the ineligible status of the Unauthorized Loans with intent

to defraud CapLOC. None of the funding requests prepared by Defendants disclosed information

that would have allowed CapLOC to discover the ineligible status of the Unauthorized Loans.

       108.    CapLOC reasonably relied on Defendants’ funding requests and silence as they

were under contractual duties to submit requests exclusively for eligible, newly-originated loans.




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       109.    As a direct result of Defendants’ fraudulent concealment, CapLOC suffered actual

and consequential damages, including the funds used to purchase the Unauthorized Loans, and

the lost opportunities from freezing funding of eligible loans that CapLOC should have acquired

under the parties’ agreements. CapLOC is further entitled to recover punitive damages for

Defendants’ fraudulent concealment.

                             EIGHTH CLAIM FOR RELIEF
                (Unjust Enrichment/Money Had and Received/Disgorgement
                                 against all Defendants)

       110.    CapLOC incorporates all preceding paragraphs for all purposes.

       111.    Defendants were each enriched by and received money from CapLOC’s purchase

of the Unauthorized Loans.

       112.    Defendants’ enrichment came at the expense of more than $34 million that

belonged to CapLOC.

       113.    It would be against equity and good conscience to permit Defendants to retain

CapLOC’s money.

       114.    CapLOC is entitled to recover and Defendants must disgorge all ill-gotten gains,

including the purchase price for the Unauthorized Loans.

                                NINTH CLAIM FOR RELIEF
                               (Gross Negligence against CBB)

       115.    CapLOC incorporates all preceding paragraphs for all purposes.

       116.    CBB was CapLOC’s agent and custodian charged to disburse funds for new loans

at CapLOC’s direction and to review and maintain loan documents on CapLOC’s behalf.

       117.    In that capacity, CBB owed a legal duty to CapLOC to act at CapLOC’s sole and

absolute discretion.

       118.    CBB breached that duty by causing CapLOC to buy the Unauthorized Loans

without seeking, much less obtaining CapLOC’s actual consent or authorization. Such conduct

by CBB was recklessly indifferent to CapLOC’s rights.

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       119.    As a direct and proximate result of CBB’s gross negligence, CapLOC suffered

actual and consequential damages, including the funds used to purchase the Unauthorized Loans,

and the lost opportunities from freezing funding of eligible loans that CapLOC should have

acquired under the parties’ agreements.

       120.    All conditions precedent to CapLOC’s claims have been satisfied.

                                             JURY DEMAND

       121.    Plaintiff hereby demands a jury trial on all claims so triable.

                                      PRAYER FOR RELIEF

       WHEREFORE, CapLOC prays that CapLOC have judgment against Defendants, jointly

and severally, for:

       1.      all actual, economic, consequential, and punitive damages;

       2.      pre- and post-judgment interest as allowed by law;

       3.      attorney fees;

       4.      costs of court; and

       5.      all other relief, both general and special, in law or in equity, to which CapLOC

               may be entitled.

Dated: New York, New York
       July 31, 2017
                                       Respectfully Submitted,

                                       DIAMOND MCCARTHY LLP


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                                     [Signature Page Continued]



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